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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

  SCOTTSDALE INSURANCE COMPANY,

         Plaintiff,
                                                            CASE NO.: 1:19-cv-25327-MGC
  v.

  NATHALIE A. SZEMERE, ENRIQUE
  BIRNBAUM, MENACHEM CHERUTY,
  and CHABAD ISRAELI CENTER OF
  MIAMI, INC.,

        Defendants.
  __________________________________________/

                           JOINT STIPULATION OF DISMISSAL
         Plaintiff, Scottsdale Insurance Company and Defendants, Nathalie A. Szemere,
  Enrique Birnbaum, Menachem Cheruty, and Chabad Israeli Center of Miami, Inc. (“the
  Parties”), pursuant to Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(ii) and by and
  through their respective undersigned counsel, hereby jointly stipulate and agree to dismissal
  of all causes of action between them in this action, with each party to bear its own attorney’s
  fees and costs, conditioned upon the following. This stipulation is conditioned upon the
  Court’s entry of an Order retaining jurisdiction to enforce the terms of the Mutual Release
  and Settlement Agreement executed by the Parties in this action. Accordingly, the Parties
  respectfully request that the Court enter an Order retaining jurisdiction to enforce the terms
  of the Mutual Release and Settlement Agreement executed by the Parties in this action.
         Dated: January 12, 2021.

                                                     PHELPS DUNBAR LLP


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                                 CERTIFICATE OF SERVICE
         I hereby certify that on the 12th day of January 2021, I electronically filed the foregoing
  with the Clerk of the Court by using the CM/ECF system. I further certify that the foregoing
  document is being served this day either via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner for those counsel or parties who
  are not authorized to receive electronically Notices of Electronic Filing.

                                                      /s/Stella J. Lane______________________
                                                      Attorney
